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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF UTAH, NORTHERN DIVISION


COREY JOHNSON on behalf of minor
child, S.J., an individual,
                                                  ORDER TO PROPOSE SCHEDULE
               Plaintiff,
                                                  Case No. 1:18-cv-00057-DAK-EJF
v.
                                                  Judge Dale A. Kimball
CACHE COUNTY SCHOOL DISTRICT, et                  Magistrate Judge Evelyn J. Furse
al.,

               Defendants.




       To secure the just, speedy, and inexpensive determination of every action and

 proceeding and fulfill the purposes of Rules 16 and 26 of the Federal Rules of Civil

 Procedure,



 IT IS HEREBY ORDERED:

       1.     Plaintiff must propose a schedule to defendants in the form of a draft

Attorney Planning Meeting Report within fourteen (14) days.

       2.     Within twenty-eight (28) days, the parties shall meet and confer and do

one of the following:

               a.       File a jointly signed Attorney Planning Meeting Report and also

                        email a stipulated Proposed Scheduling Order in word

                        processing format to ipt@utd.uscourts.gov; or




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               b.    If the parties cannot agree on a Proposed Scheduling Order,

                     plaintiff must file a jointly signed Attorney Planning Meeting

                     Report detailing the nature of the parties’ disputes and must also

                     file a stipulated Motion for Initial Scheduling Conference; or

               c.    If the parties fail to agree on an Attorney Planning Meeting

                     Report or on a stipulated Motion for Initial Scheduling

                     Conference, plaintiff must file a Motion for Initial Scheduling

                     Conference, which must include a statement of plaintiff’s position

                     as to the schedule. Any response to such a motion must be filed

                     within seven (7) days.

      3.     In the absence of filing a stipulated Proposed Scheduling Order, the

parties must be prepared to address the following questions, in addition to those

raised by the Attorney Planning Meeting Report:

             a.     What 2-3 core factual or legal issues are most likely to be

                    determinative of this dispute?

             b.     Who are the 1-3 most important witnesses each side needs to

                    depose? Is there any reason these witnesses cannot be deposed

                    promptly?

             c.     What information would be most helpful in evaluating the likelihood

                    of settlement? Is there any reason it cannot be obtained promptly?

             d.     In 5 minutes or less, describe the crucial facts, primary claims, and

                    primary defenses?




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              e.     Are all claims for relief necessary or are they overlapping? Can any

                     claim for relief be eliminated to reduce discovery and expense?

              f.     Are all pleaded defenses truly applicable to this case? Can any be

                     eliminated?

              g.     What could be done at the outset to narrow and target the discovery

                     in the case?

              h.     What agreements have the parties reached regarding limitations on

                     discovery, including discovery of ESI?

              i.     Is there a need to schedule follow-up status conferences?

      4.      Each party shall make initial disclosures within twenty-eight (28) days.

This deadline is not dependent on the filing of an Attorney Planning Meeting Report,

the entry of a Scheduling Order, or the completion of an Initial Scheduling

Conference.

      5.      The parties are urged to propose a schedule providing for:

              a.     Fact discovery completion no more than six (6) months after the

                     filing of the first answer.

              b.     Expert reports from the party with the burden of proof on that issue

                     twenty-eight (28) days after the completion of fact discovery, and

                     responsive reports twenty-eight (28) days thereafter.

              c.     Expert discovery completion twenty-eight (28) days after filing of an

                     expert’s report.

              d.     Dispositive motion filing deadline no more than ten (10)

                     months after the filing of the first answer.


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Signed this 27th day of June, 2018.

                                          BY THE COURT:


                                          ______________________________
                                          Honorable Evelyn J. Furse
                                          United States Magistrate Judge




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